                   Case 1:13-cr-00194-DHB-BKE Document 111 Filed 06/24/15 Page 1 of 1
AO 24r (10/ll) OrderResardrns
                            Morionfor Scnlcnce
                                             Reduction     to I 8 U S.C d 3i 82(c)(2)
                                                     Pursuant                                                   Page I of2 (Pase2 Nol for Ptrblic Disclosure)



                                                                                                                     :T COURT
                                                                                                              U'5.015TR
                                                        UNITED STATESDISTR]CTCOURT                                   A i J N I JA
                                                                                                                                S nlv.
                                                                   for the
                                                             SouthernDistrict of Georgia                        JUttzlt
                                                                                                             2015
                                                                    AugustaDivision
                     Unit€dStatesof America
                              v.
                                                                                 CaseNo: 1:13CR00194-l
                       DonquailJamalBooker
                                                                                 USMNo:
Dateof OriginalJudgment:      Mav 8,2014                                         JasonW. Blanchard
DateofPreviousAmendedJudgment:Not Applicable                                     Defendant'sAttorney
(Llse Date of Letst/lmended JudgmenL fany


                                     OtalerRegardingMotion for SententtRetlu.lion PursuanttD 18 U.S.C.S 3582(c){2)


       Upon motion of l-l the defendant l-l the Director of the Bureau of Prisons flthe court under l8 U.S.C.
$ 35S2(cX2)for a reduction in the term of imprisonmentimposedbasedon a guideline sentencingrangethat has
subsequentlybeen lowered and maderetroactiveby the United StatesSentencingCommissionpursuantto 28 IJ.S.C.
                                                                                                           I B I .10 and
$ 99a(u), and having consideredsuch motion, and taking into accountthe policy statementset forth at USSG $
the sentencingfactorssetforth in 18 U.S.C.$ 3553(a),to the extentthat they are applicable,

f T l S O R D E R E D t h a tl h e m o t i o ni s :
                                                                    of imprisonment(asrcIected      judsnent
                                                                                             inthelast
 @ OeNmn. I CnANfEO and the defendant'spreviously imposedsentence
                      t s t u e t lO f         months is reduced to


                                              (CompleteParts I and II oJPage 2 when motion is granted)




Except as otherwiseprovided above,all provisions ofthejudgment dated                                       shall remain       effect.

IT IS SO ORDERED.
                        t      ^tt     lt-
o r d eD
       r ate:           U'dY-lJ
                                                                                                  Judge'r \ignature




                                                                                  DudleyH, Borven,
                                                                                                 Jr,
EffectiveDate: Novemberl. 2015                                                               Disrrict
                                                                                  UnitedStares      Judge
               (if dffirent fron orderdate)                                                     Printed name and title
